                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)


  Kilmar Armando ABREGO GARCIA, et al.

                              Plaintiffs

                        v.                           Case. No. 8:25-cv-00951

  Kristi NOEM, Secretary of Homeland
  Security, et al.

                             Defendants.


                         CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 103.3, Proposed Intervenor

Fix the Court certifies that Fix the Court is a 501(c)(3) nonprofit organization and is not affiliated

with any corporate entity.

Dated: May 12, 2025                            Submitted,

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